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8
                            IN THE UNITED STATES DISTRICT COURT
9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                     ) Case No.: 1:17-CR-00198-LJO
12                                                 )
     Plaintiff,                                    )
13                                                 ) ORDER ON PENDING DEFENSE
             vs.                                   ) MOTION TO FILE EXHIBIT(S) AND
14                                                 ) DECLARATION UNDER SEAL
                                                   )
15                                                 ) Date: February 4, 2019
     ILDELFONSO SOTO,                              ) Time: 1:30 p.m.
16                                                 ) Place: Courtroom 4
     Defendant.                                    )
17                                                 )
                                                   )
18                                                 )
                                                   )
19                                                 )
            There is a pending motion before the Court, brought by the Defendant Ildefonso Soto
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     (“Mr. Soto) to file exhibit(s) and the declaration in support of Defendant’s motion to suppress
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     wiretap evidence and evidence from location tracking and bill of particulars under seal.
22
            GOOD CAUSE APPEARING, it is hereby ordered that Mr. Soto is permitted to file the
23
     exhibit(s) and declaration in support of the motion under seal.
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     IT IS SO ORDERED.
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27      Dated:     November 2, 2018                        /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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